826 F.2d 1059Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Alfred B. CHANDLER, Jr., Petitioner-Appellant,v.Ed MURRAY, Acting Director of the Virginia Department ofCorrections, Respondent-Appellee.
    No. 87-7527
    United States Court of Appeals, Fourth Circuit.
    Submitted May 20, 1987.Decided Aug. 14, 1987.
    
      Gerald Thomas Zerkin, Zerkin, Heard &amp; Kozak, for appellant.
      Frank Snead Ferguson, Assistant Attorney General, Office of the Attorney General of Virginia, for appellee.
      Before WIDENER and K.K. HALL, Circuit Judges, and BUTZNER, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      A review of the record and the district court's opinion accepting the magistrate's recommendation discloses that an appeal from its order refusing habeas corpus relief pursuant to 28 U.S.C. Sec. 2254 would be without merit.  Because the dispositive issues recently have been decided authoritatively, we deny a certificate of probable cause to appeal, dispense with oral argument, and dismiss the appeal on the reasoning of the district court.  Chandler v. Murray, C/A No. 85-679-N (E.D. Va., Jan. 14, 1987).
    
    
      2
      DISMISSED.
    
    